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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 20-62158-CIV-ALTMAN/Hunt


  HOWARD COHAN,

                  Plaintiff,

          v.

  PFL VII, LLC
  a Foreign Limited Liability Company
  doing business as
  The Westin Fort Lauderdale,

                  Defendant.
                                                  /

                       STIPULATION OF DISMISSAL WITH PREJUDICE

          The parties, by and through their undersigned attorneys, and pursuant to the Court’s Order

  dated December 22, 2020, and Fed. R. Civ. P. 41(a), file this Stipulation of Dismissal With

  Prejudice, as the parties settled Plaintiff’s claims.

   Respectfully submitted,

   /s/ Gregory S. Sconzo                                  /s/ Eric A. Berg
   Gregory S. Sconzo                                      Eric A. Berg (admission pending)
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                                 CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on January 21, 2021, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record in this action via transmission of Notices of

  Electronic Filing generated by CM/ECF.



                                                     /s/ Gregory S. Sconzo
                                                     Attorney for Plaintiff
